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5
6    Attorney for Defendant
     KAE SAETEURN
7
8
9                       IN THE UNITED STATES DISTRICT COURT
10                     FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,       )     No. CR. S-05-033 DFL
                                     )
14                  Plaintiff,       )
                                     )     STIPULATION AND ORDER EXONERATING
15        v.                         )     BOND AS TO DEFENDANT SAETEURN
                                     )
16   KAE SAETEURN et alia,           )
                                     )     Judge:      Hon. David F. Levi
17                  Defendants.      )
                                     )
18   _______________________________ )
19
20        IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States
21   of America, and defendant, Kae Chai Saeteurn, through their respective
22   attorneys, that bond in the above case be exonerated and the property
23   posted to secure Mr. Saeteurn’s release be reconveyed to the owners.
24        On January 24, 2005, the magistrate judge ordered defendant Kae
25   Saeteurn released on conditions including the posting of a $100,000
26   secured bond.   On February 10, 2005, the Clerk’s Office received the deed
27   of trust posted by Fou A. Teurn and Chai O. Saeteurn.         On June 14, 2006,
28   the Court sentenced Mr. Saeteurn to serve 63 months in prison and ordered
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1    him to surrender to the institution designated by the Bureau of Prisons.
2    On July 28, 2006, Mr. Saeteurn surrendered as ordered; defense counsel
3    yesterday confirmed through the BOP inmate locator (www.bop.gov) that Mr.
4    Saeteurn is presently in custody at the United States Prison in Lompoc.
5
6                                              Respectfully submitted,
7                                              DANIEL J. BRODERICK
                                               Federal Defender
8
9    Dated:    August 2, 2006                  /s/ T. Zindel
                                               TIMOTHY ZINDEL
10                                             Assistant Federal Defender
                                               Attorney for KAE SAETEURN
11
12                                             McGREGOR SCOTT
                                               United States Attorney
13
14   Dated:    August 2, 2006                  /s/ T. Zindel for A. Pings
                                               ANNE PINGS
15                                             Assistant U.S. Attorney
16
17                                         O R D E R
18
19         Mr. Saeteurn having satisfied all conditions of the bond securing
20   his release, the bond is exonerated.              The Clerk of the Court shall
21   promptly reconvey the posted property.
22         IT IS SO ORDERED.
23
24   Dated:    August 2, 2006
25
26
27                                               DAVID F. LEVI
28                                               United States District Judge


     Stip. Exonerating Bond, K. Saeteurn      -2-
